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                   EXHIBIT 1
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                 IN THE CIRCUIT COURT OF THE SECOND CIRCUIT
                                       STATE OF HAWAI‘I

                                                  Case No.:
  HAROLD DENNIS WELLS, individually and           (Other Non-Vehicle Tort)
  on behalf of the heirs of REBECCA RANS,
                                                  COMPLAINT; DEMAND FOR JURY
                          Plaintiff,              TRIAL; SUMMONS
          v.

  MAUI ELECTRIC COMPANY, LIMITED;
  HAWAIIAN ELECTRIC COMPANY, INC.;
  HAWAIIAN ELECTRIC INDUSTRIES, INC.;
  ELLIOT KAWAIHO‘OLANA MILLS,
  CRYSTAL KAUILANI ROSE, JENNIFER
  NOELANI GOODYEAR-KA‘ŌPUA,
  MICHELLE KA‘UHANE, AND ROBERT
  K.W.H. NOBRIGA, TRUSTEES OF THE
  ESTATE OF BERNICE PAUAHI BISHOP;
  COUNTY OF MAUI; STATE OF HAWAI‘I;
  DOES 1-100;
                   Defendants.
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                                          COMPLAINT

         1.    Plaintiff HAROLD DENNIS WELLS, individually and on behalf of the heirs of

Rebecca Rans (“Plaintiff”),1 by and through his Attorneys of record, brings this action against

Defendants MAUI ELECTRIC COMPANY, LIMITED; HAWAIIAN ELECTRIC COMPANY,

INC.; HAWAIIAN ELECTRIC INDUSTRIES, INC.; ELLIOT KAWAIHO‘OLANA MILLS,

CRYSTAL KAUILANI ROSE, JENNIFER NOELANI GOODYEAR-KA‘ŌPUA, MICHELLE

KA‘UHANE, AND ROBERT K.W.H. NOBRIGA, TRUSTEES OF THE ESTATE OF BERNICE

PAUAHI BISHOP; COUNTY OF MAUI; STATE OF HAWAI‘I, and DOES 1-100 (collectively,

“DEFENDANTS”) for the wrongful death of his daughter, Rebecca Rans. Plaintiff alleges on

information and belief, except for information based on personal knowledge, as follows:

                                 JURISDICTION AND VENUE

         2.    This Court has general personal jurisdiction over all Defendants in that, as alleged

herein, Plaintiff’s causes of action against Defendants arise from transactions and occurrences

which occurred in this State and otherwise from Defendants’ tortious conduct within this State

and/or Defendants, and each of them, are otherwise domiciled in this State.

         3.    Venue is proper in this Court because the acts complained of in this Complaint

occurred in this circuit. The amount in controversy exceeds the jurisdictional minimums of this

Court.

                                        INTRODUCTION

         4.    Plaintiff brings this lawsuit for the wrongful death of his daughter, who was




1
 Plaintiff Harold Dennis Wells is the natural father of Rebecca Rans. He will be applying to serve
as the representative of her Estate, but at present his representative capacity has not been approved
by a probate court and thus he brings this action on behalf of all potential heirs for the wrongful
death of Rebecca Rans.
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tragically and suddenly killed trying to escape the fires that devastated the community of Lahaina

on August 8, 2023. These fires were caused by each of the Defendants as alleged herein. For years,

as Maui continued to get drier and hotter, the spread of invasive, non-native, flammable grasses

and brush vegetation took over the island (hereinafter “grasslands”), the electrical system

continued to decay, and the potential for increased fires originating in and/or fueled by these

grasslands was actively discussed among governmental officials, utilities, and informed

academics, and was well-known to owners of such grasslands. The combination of weather2,

uncontrolled vegetation and aging electrical infrastructure created a tinderbox ready to explode in

Maui. The risk was not theoretical. Grass-originated and grass-fed fires continue to increase in

Hawai‘i.

       5.      In August 2018, major fires originating on and fueled by the grasslands caused

significant damage and personal injury in the Lahaina area (“the 2018 Fires”). As Hurricane Lane

moved south of the Islands of Hawai‘i on August 23, 2018, along a very typical and predictable

track frequently taken by hurricanes at this time of year, increased winds associated with it and a

ridge to the north (a common occurrence when tropical storms pass south of the islands in the late

summer) produced strong, dry winds in western Maui. The strong winds downed trees and power

lines. Fires sparked in grasslands grew rapidly, fanned by wind gusts estimated at 60–80 mph. The

largest of the fires occurred in Kauaula Valley, just southeast of Lahaina, burning 2,800 acres and




2
  On October 12, 2020, Defendant Maui Country sued several “major corporate members of the
fossil fuel industry” (2CCV-XX-XXXXXXX, Dkt. 1 at 1, ¶1), alleging, inter alia, that “[a]s a direct
and proximate consequence of Defendants’ wrongful conduct… the environment in and around
the County [of Maui] is changing, with devastating adverse impacts on the County and its
residents. For instance, average sea level has already risen and will continue to rise substantially
along the County’s coastlines, causing… beach loss; extreme weather, including hurricanes and
tropical storms… drought, heatwaves, wildfires and other phenomena will become more frequent,
longer-lasting, and more severe….” Id. at 4, ¶10 (emphasis added).
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injuring two people, one due to burns and another due to smoke inhalation. Six hundred people

were evacuated due to the 2018 Fires overall. The fire destroyed 22 homes, leaving 60 people

homeless; it also burned 30 vehicles. Flames reached the field track at Lahainaluna High School. A

second fire ignited near the Lahaina Civic Center, burning 800 acres and one home

in Kaanapali. Twenty-six evacuees staying at Lahaina Intermediate School were forced to relocate

due to the fire.

        6.         Despite this history of serious fires caused by predictable weather conditions, no

one in a position to effect change did anything to prevent or substantially mitigate the risk. Utilities

did not harden the grid or develop de-energization policies to reduce the risk of electrical fires.

Large landowners did not properly maintain, remove or replace flammable non-native grass and

brush to reduce the fuel load for fire spread. Maui County officials did not make preparations to

adequately handle such an emergency. When another hurricane approached the islands in August

2023, just five years later, none of these entities can claim that it was unforeseeable that electrical-

caused fires would be driven by the wind across large unmanaged grasslands into Lahaina. The

result of these years of neglecting and disregarding the risk that the 2018 Fires would be repeated

when similar conditions inevitably occurred was the greatest single-day loss of life and property

in Hawai‘i history on August 8, 2023, a catastrophe and tragedy for which all Defendants named

herein should share in the fault.

                                               PARTIES

        7.         Plaintiff HAROLD DENNIS WELLS is a resident of the state of Arizona and

represents the interests of the heirs at law for the wrongful death of Rebecca Rans. Plaintiff

HAROLD DENNIS WELLS is the natural father of the decedent Rebecca Rans, who is

predeceased by her mother and survived by her children.



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        8.      Rebecca Rans was, at the time of her death, a long-time resident of the state of

Hawai‘i for more than 20 years living at 390 Paeohi St., Lahaina, HI 96761.

        9.      Defendant Maui Electric Company, Limited (“MECO”) is a corporation doing

business in the State of Hawai‘i with its principal place of business in the City and County of

Honolulu, State of Hawai‘i. MECO is an electric utility company that owns and operates the

electrical grid in Maui and has provided electric energy to Maui for 100 years. MECO was

purchased by Defendant Hawaiian Electric Company, Inc. in the 1960s. On information and belief,

MECO is a wholly owned subsidiary of Defendant Hawaiian Electric Company, Inc.

        10.     Defendant Hawaiian Electric Company, Inc. (“HECO”) is a corporation doing

business in the State of Hawai‘i, in the County of Maui, with its principal place of business in the

City and County of Honolulu, State of Hawai‘i. HECO is an electric utility company that generates

and sells electric energy and has done so since the late 1800s.

        11.     Defendant Hawaiian Electric Industries, Inc. ("HEI") is a corporation and the parent

and holding company of HECO and, in turn, MECO. On information and belief, HECO is a wholly

owned subsidiary of HEI. HEI is doing business in the State of Hawai‘i, in the County of Maui,

with its principal place of business in the City and County of Honolulu, State of Hawai‘i. HEI,

through its subsidiaries, supplies nearly all of the electricity to the state of Hawai‘i.

        12.     This Complaint refers to HECO, MECO and HEI collectively as “HECO

Defendants.”

        13.     Defendants Elliot Kawaiho‘olana Mills, Crystal Kauilani Rose, Jennifer Noelani

Goodyear-Ka‘ōpua, Michelle Ka‘uhane, and Robert K.W.H. Nobriga (collectively the “Trustees”)

serve as the trustees of the Estate of Bernice Pauahi Bishop, a charitable foundation owning large

areas of land within the state of Hawai‘i (the Trustees and their trust are hereinafter referred to



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collectively as “BISHOP”), with its principal place of business in the City and County of Honolulu,

State of Hawai‘i. Under Hawai‘i law, the Trustees are named as defendants for the torts committed

by the trust, and thus the Trustees are named as Defendants herein rather than the entity of the

trust, which does not have a separate legal existence under Hawai‘i law.3

         14.    BISHOP was established more than 100 years ago. It is a land trust that was

endowed with nearly 10% of the landmass of the state of Hawai‘i. Today, BISHOP owns several

large parcels of land that were in the path of and facilitated the fire destruction that ultimately

destroyed the residence of 390 Paeohi St., Lahaina, HI 96761 and also cut off escape paths or

routes, sending Rebecca Rans in flight and ultimately resulting in her death, including but not

limited to 1,137 acres of land in Lahainaluna to the east and south of 390 Paeohi St., Lahaina, HI

96761.

         15.    Defendant County of Maui (“MAUI COUNTY”) is located in the state of Hawai‘i.

MAUI COUNTY owns several parcels of land that were in the path of and facilitated the firestorm

that ultimately destroyed the residence of 390 Paeohi St., Lahaina, HI 96761 sending Rebecca

Rans in flight and ultimately resulting in her death. The MAUI COUNTY holdings which fed the

fire include but are not limited to two lots in the Lahainaluna area. These lots not only contributed

to the destruction of 390 Paeohi St., Lahaina, HI 96761, but also endangered, obstructed, and/or

caused the cut-off of escape routes for victims fleeing the fire like Rebecca Rans.

         16.    Defendant State of Hawai‘i (“STATE”) owns several parcels of land that were in




3
 In Henry Waterhouse Trust Co. v. King, the Hawai‘i Supreme Court reiterated the “familiar”
common-law rule that “the liabilities incurred by trustees—whether such liabilities are in contract
or in tort or under the terms of a statute—are their liabilities. They are principals.” See 33 Haw. 1,
18 (Haw. 1934) (emphasis in original).
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the path of and facilitated the firestorm that ultimately destroyed the residence of 390 Paeohi St.,

Lahaina, HI 96761 sending Rebecca Rans in flight and ultimately resulting in her death. The

STATE holdings which fed the fire include but are not limited to parcels east and northeast of 390

Paeohi St., Lahaina, HI 96761. These lots not only contributed to the destruction of 390 Paeohi

St., Lahaina, HI 96761, but also endangered, obstructed, and/or caused the cut-off of escape routes

for victims fleeing the fire like Rebecca Rans.

       17.     Plaintiff has reviewed public and other records available in order to ascertain the

true and full names and identities of all defendants in this action, but Plaintiff has no further

knowledge or information at this time regarding all responsible parties and is unable to ascertain

the identity of defendants in this action designated as Does 1-100 (collectively, the “Doe

Defendants”). The Doe Defendants are sued herein under fictitious names for the reason that their

true names and identities are unknown to Plaintiff, except that they may be connected in some

manner with the named Defendants, such as being agents, servants, employees, employers,

representatives, co-venturers, associates, or independent contractors of Defendants and/or were in

some manner presently unknown to the Plaintiff engaged in activities such as designing,

manufacturing, selling, distributing, installing and/or providing materials and/or services to

Defendants. The Doe Defendants’ true names, identities, capacities, activities, and/or

responsibilities are presently unknown to Plaintiff or his attorneys. Plaintiff prays for leave to

amend this Complaint to show the true names and capacities, activities, and/or responsibilities

when the same has been discovered.

                                 GENERAL ALLEGATIONS

The Risk of Wildfires to Lahaina Was Known to Defendants

       18.     The threat of hurricanes and their attendant high winds invariably loom over



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Hawai‘i. A handful of hurricanes endanger the state each year. Climate change makes hurricanes

more ferocious, increasing the peril for Hawai‘i statewide.

        19.       Since 2000, at least 22 hurricanes or their remnants have either impacted or nearly

impacted Hawai‘i, thirteen of which occurred since 2010. In recent years, dozens of hurricanes or

tropical storms made landfall or passed within miles of Hawai‘i’s shores.

        20.       Hawai‘i has also been plagued by non-native and flammable grasses. A 2018 report

from the Hawaii Wildfire Management Organization noted that over the past decade more than

1,000 wildfires burning more than 17,000 acres occur every year in Hawai‘i. The report concluded

that much of the increased rate of wildfire in Hawai‘i, more than a 400% increase over the past

century, is due to human conduct and specifically to “nonnative, fire-prone grasses and shrubs

[that] now cover nearly one quarter of Hawaii’s total land area and, together with a warming,

drying climate and year-round fire season, greatly increase the incidence of larger fires.”

        21.       Another 2018-2019 report from Hawaii Wildfire Management Organization funded

by the State and the U.S. Forest Service was particularly attuned to the fact research shows

vegetation is a “key ingredient in the recipe for recurring wildfire.” They pointed out the seemingly

obvious conclusion that “reducing wildfire hazard is a landscape-level issue” because fires do not

respect property boundaries.

        22.       During this study, large landowners (more than 1% of island area) were contacted

to help with mapping the vegetation wildfire risk. For Maui, the project mapped 132,000 acres and

identified 90 miles of needed firebreaks and outlined fuel reduction mitigation. Unsurprisingly,

Lahaina had the most dangerous combination of ignition density, hazardous vegetation and high

wildfire risk:




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       23.    The report recommended the solution was cross-boundary vegetation management.

 It specifically recommended enhanced vegetation management by landowners around Lahaina:



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         24.     The report recommended multiple ways to clear dangerous vegetation, including

 herd grazing, heavy machinery, herbicide, manual labor, mowing and mulching. Yet, only 22% of

 landowners engaged in any kind of regular vegetation maintenance. Thirty-percent of landowners

 engaged in no maintenance of dangerous vegetation on their land.

         25.     Nearly a decade ago, the Hawaii Wildfire Management Organization issued a 2014

 wildfire mitigation plan that warned Lahaina was among Maui’s most fire-prone areas based on

 its proximity to grasslands, steep terrain, and frequent winds and outlined a plan for working with

 utilities to help reduce the risk of fires.

         26.     A 2020 Maui County Hazard Mitigation Plan Update depicts Lahaina and all

 Lahaina buildings as occupying a “High” Wildfire Risk Area.




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        27.     A 2020 Maui County Hazard Mitigation Plan Update also warned that West Maui

 has a “Highly Likely (greater than 90% annual chance)” likelihood of experiencing wildfires.

        28.     Consistent with Hawai‘i authorities and agencies, Federal Emergency Management

 Agency’s April 2023 Wind Retrofit Guide for Residential Buildings in Hurricane-Prone Regions

 designates the entire state of Hawai‘i as a hurricane-prone region at risk of high-wind hazards.

        29.     As predicted, and as noted above, in 2018, Hurricane Lane aggressively spread

 wildfires in the hills above Lahaina. County officials considered themselves lucky that the fire did

 not jump Lahainaluna Roard or it would have devastated the town of Lahaina. Nevertheless, 2,800

 acres burned and more than 20 structures were destroyed.

        30.     In 2019, a series of brush fires across Maui burned more than 25,000 acres. Most

 of the fires took place in Central Maui, home to thousands of acres of former sugar lands and full

 of dry vegetation considered fuel for wildfires. It was understood that most of Hawai‘i’s wildfires


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 are enabled by unmanaged nonnative grasslands that have dramatically expanded - by more than

 60% - since the decline of Hawai‘i’s agricultural footprint in the 1960s.

 HECO Defendants Request Funding to Harden Grid Too Late

         31.     Jennifer Potter, a recent member of the Hawaii Public Utilities Commission, and

 who lived in Lahaina on Maui, confirmed that all the Defendants knew about the wildfire risk to

 Maui: “There was absolutely knowledge within the state and within the electric industry that fire

 was a huge, huge concern on the island of Maui, and even more so than any of the other islands[.]”

         32.     HECO Defendants had specific knowledge of the risk of wildfire on Maui. HEI

 submitted a 2022 request for funding from the public utilities commission to offset the $189.7

 million HEI would need to spend to bolster its power grid statewide, which included wildfire-

 prevention measures.

         33.     HECO Defendants indicated in their funding request that “[t]he risk of a utility

 system causing a wildfire ignition is significant” and that HECO Defendants sought funding, in

 part, to guard against their facilities being “the origin or a contributing source of ignition for a

 wildfire.”

         34.     However, HECO Defendants understood that the electric system in Maui needed to

 be hardened, specifically including replacing aging towers or undergrounding lines, long before

 the 2022 funding request. The 2014 report made the danger public and obvious, but as electric

 operators, HECO Defendants should have known decades before that the infrastructure was

 nearing the end of its useful life.

         35.     They could have seen the deadly consequences of decrepit infrastructure by looking

 to California where the failure of a C-hook on a 100-year-old electrical line caused the devastating




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 Camp Fire in 2018 which killed 85 people and prompted the very public Chapter 11 bankruptcy

 of PG&E. The spectacular fall of the largest utility in the U.S. was well known in the industry.

        36.     As discussed above, the 2018-2019 report from Hawai‘i Wildfire Management

 Organization focused on fire risk in Maui following a series of wildfires across Maui in 2018. In

 addition to discussing the threat of wildfire spread from unmaintained vegetation, the report

 pointed out the unique risk posed by electrical lines: “Aboveground power lines are vulnerable to

 wildfire and can even provide the ignition (sparks) that could start a wildfire, particularly in windy

 or stormy conditions. There are long-term solutions for reducing power line-related wildfire

 hazards such as infrastructure upgrades.” It recommended updating the infrastructure and burying

 power lines, particularly in high-risk areas, and specifically in Lahaina.

        37.     HECO Defendants should have planned for such improvements long before 2022.

 In fact, it was well known that the grid owned and operated by HECO Defendants uses old wooden

 poles that are largely uninsulated and strung with vegetation over miles of rugged terrain. Energy

 experts have long called for the utility to harden its grid, and despite the cost, to put more of it

 underground. Had they done so, the capital improvements would have enabled the grid to

 withstand the hurricane level winds that whipped across Maui on August 8, 2023 and in so doing,

 prevented a deadly fire.

 Specific Warnings Before Lahaina Fire and Failure to Deenergize/Prepare

        38.     On Friday, August 4, 2023, the National Weather Service in Honolulu (“NWS”)

 posted on X, formerly known as Twitter, that Hawai‘i could experience “indirect impacts” from

 Hurricane Dora from Monday, August 7, 2023 through Wednesday, August 9, 2023, including

 “Strong and gusty trade winds” and “Dry weather & high fire danger.”




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        39.     Two days later, on Sunday, August 6, 2023, NWS posted a warning on X:

 “Strongest winds in yellows & oranges on map result from significant pressure differences

 between high & low pressures. Combined w/ dry conditions, these winds pose a serious fire &

 damaging wind threat. Stay alert!” NWS also posted an update on Hurricane Dora on X, which

 included the following warning: “While Hurricane Dora passes well south with no direct impacts

 here, the strong pressure gradient between it & the high pressure to the north creates a threat of

 damaging winds & fire weather (due to ongoing dry conditions) from early Mon to Wed.” Every

 Defendant named herein knew or should have known that conditions nearly identical to those of

 the 2018 fire were soon going to occur.




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        40.        On Monday, August 7, 2023, NWS issued an updated warning for the Hawaiian

 Islands, as reported in The Maui News. This warning contained both a High Wind Watch and a

 Fire Warning for the leeward portions of the state, which included Lahaina. The warning cautioned

 that damaging winds could blow down power lines and that any fires that developed would likely

 spread rapidly.

        41.        On Tuesday, August 8, 2023, the NWS issued both a High Wind Warning and Red

 Flag Warning for portions of the Hawaiian Islands, including West Maui. Specifically, the NWS

 warned the following: “High Wind: 30–45 mph winds, gusts up to 60 mph . . . . Red Flag: High

 fire danger with rapid spread. NO outdoor burning. Stay safe & cautious!”



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        42.     Per NWS, a Red Flag Warning “means that critical fire weather conditions are

 either occurring now or will shortly. A combination of strong winds, low relative humidity, and

 warm temperatures can contribute to extreme fire behavior.”

        43.     With the known danger resulting from downed power lines in high winds and in

 dry conditions, and given the fact HECO Defendants had not received funding to harden their

 infrastructure (however untimely the request may have been), HECO Defendants had another

 opportunity to mitigate the risk of deadly wildfires as Hurricane Dora passed the island: de-

 energizing their power lines. The history of electric fires in Hawai‘i, California and other states

 put HECO Defendants on notice of the need to develop responsible power safety shutdown

 policies. Indeed, in 2019, HECO Defendants issued a press release (“2019 Press Release”). In the

 2019 Press Release, HECO Defendants expressed their commitment to conduct drone surveys

 across their five-island territory to identify areas vulnerable to wildfires and to determine the best

 course of action to protect the public and electrical infrastructure. Further, the 2019 Press Release

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 stated that the drone inspections formed part of HECO Defendants’ “proactive assessment and

 management of vegetation near their electrical infrastructure, especially in drought-prone or dry

 bush areas.” The 2019 Press Release also stated that HECO Defendants evaluated and studied the

 Wildfire Mitigation Plans that the major California utilities had filed with the California Public

 Utilities Commission. These Wildfire Mitigation Plans included a PSPS program for shutting off

 the power to their power lines during High Wind and Red Flag conditions to prevent wildfires.

        44.     HECO Defendants never created a PSPS plan. According to The Washington Post,

 Defendants were “aware that a power shut-off was an effective strategy, documents show, but had

 not adopted it as part of its fire mitigation plans, according to [HEI] and two former power and

 energy officials” the paper interviewed. HECO Defendants knew shutting off power is “a

 successful way to prevent wildfires when additional robust techniques are not in place.”

        45.     HECO Defendants should have long ago developed a more effective de-

 energization policy widely adopted in other states. Even in the absence of a more comprehensive

 de-energization policy, the specific warnings preceding the fire or fires that destroyed most of

 Lahaina on August 8, 2018 (hereinafter “the Lahaina Fire”) required HECO Defendants to quickly

 mobilize to implement an effective strategy to power down its lines, a measure which is easily

 attainable at a substation or circuit level. Despite HECO Defendants’ knowledge about these Red

 Flag and other warnings, HECO Defendants left their power lines energized. These power lines

 foreseeably ignited the fastmoving, deadly, and destructive Lahaina Fire.

        46.     HECO Defendants admit the first ignition of the Lahaina Fire on the morning of

 August 8, 2023 was caused when a live electrical wire operated by HECO Defendants fell and

 ignited nearby vegetation. While HECO Defendants have asserted they shut off the power after

 the first ignition of the Lahaina fire, it was too late. On information and belief, there was no second



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 ignition point. The first ignition of the Lahaina fire was the only ignition point. The first ignition

 point was “contained,” which meant only that the fire had been surrounded and not extinguished.

 However, in fact, it was not fully contained, a failure which was foreseeable to HECO Defendants.

 The fire smoldered and reignited and rapidly spread towards the town of Lahaina. In the

 alternative, HECO Defendants are wrong, and the power was re-energized and resulted in a

 potential second ignition point.

        47.       In addition, the failure to comprehensively de-energize lines in the path of the

 Lahaina Fire and/or to timely and accurately inform public safety authorities of the status of lines

 put more lives at risk as it made it more difficult for residents to safely escape the relentless path

 of the Lahaina Fire. The Mayor of Maui noted that downed power poles added to the chaos

 surrounding the Lahaina Fire, as downed power poles, with wires that were live or believed to be

 live still attached, cut off two important roads, leaving only the narrow highway passable for

 fleeing cars.

 Uncontained/Unmanaged Vegetation and Poor Emergency Preparedness Exacerbate Lahaina
 Fire

        48.       Maui County officials were ill prepared for the Lahaina Fire. Despite previous fires

 in 2018 and 2019, and recognition that wildfires crossing Lahainaluna Road would likely devastate

 Lahaina, they advised residents west of Lahainaluna Road to shelter in place as late as 4:45 pm,

 well after the fire had gotten out of control and was clearly heading toward Lahaina. Indeed, the

 fire ignition point was right on the edge of Lahainaluna Road. Nor did Maui County officials sound

 sirens in the area to warn residents that the fire was marching towards them. Maui County officials

 claim that the sirens would have been confused for tsunami warnings and that residents would

 have headed towards the mountain and thus the fire. Of course, such logic cannot stand since

 residents exiting their homes and looking towards the mountains would have been overwhelmed

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 with the sight of the approaching fire and smoke. They would have had more time to flee. More

 time would have saved the life of Rebecca Rans who tragically did not get out in enough time.

 Maui County officials claim they used cell phone alerts but, of course, many towers were down.

 Maui County officials were simply unprepared for the fire despite ample time and warning to

 prepare a proper emergency preparedness program that would use existing sirens or other effective

 strategies to advise residents earlier to evacuate. Nor did Maui County have an effective evacuation

 strategy that would account for the foreseeable limited exit routes being blocked by debris or

 downed power poles and lines.

        49.     Large landowners, including BISHOP, STATE and MAUI COUNTY, were on

 notice from a 2018-2019 report from Hawai‘i Wildfire Management Organization that it was their

 duty to reduce fire risk to Lahaina and other vulnerable places on Maui with proper vegetation

 management of flammable fuel loads on their land. They knew there were several means by which

 to control the non-native wild grass on their land. They knew that managing the vegetation on their

 land was critical to make sure their property did not contribute to wildfire expansion. They knew

 failure to manage vegetation on their land would expose Lahaina and its citizens to increased

 wildfire risk. They knew they could play a role in reducing that risk and that Lahaina was at

 particularly high risk for wildfires. And yet, on information and belief, they undertook no or poor

 vegetation management.

        50.     HECO Defendants owed a duty to design, construct, inspect, repair, and maintain

 their power poles, power lines, transformers, reclosers, and other electrical equipment adequately.

 Defendants also owed a duty to maintain and operate their power lines, overhead electrical

 infrastructure, and equipment properly to ensure they would not cause a fire. These duties included

 de-energizing their power lines during Red Flag Warnings to prevent fires and conducting



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 adequate vegetation management, such as clearing vegetation, trees, and tree limbs that could

 come into contact with their power lines and equipment. In addition, Defendants knew that their

 electrical infrastructure was inadequate, aging, and/or vulnerable to failure under the foreseeable

 and known weather conditions. HECO Defendants failed to fulfill each of these duties.

        51.     As an electric utility, HECO Defendants were engaged in a dangerous activity and,

 accordingly, owed the public a heightened duty of care to avoid foreseeable risks attendant to this

 activity, including the risk of fire. This heightened duty included exercising a very high degree of

 care and prudence, such as ensuring the safe transmission of electricity over their infrastructure

 during high-wind events and monitoring weather conditions that would affect their electrical

 infrastructure (i.e., forecasted high winds and Red Flag Warnings). HECO Defendants also owed

 the public a duty to mitigate damage to their electrical infrastructure from high winds, specifically,

 to prevent a wildfire. Defendants further owed a duty to design and construct their power poles

 and power lines to perform safely and not fail during foreseeable wind events that would endanger

 the life of Rebecca Rans.

        52.     MAUI COUNTY owed a duty to the residents of Lahaina, and Rebecca Rans, to

 develop appropriate emergency preparedness procedures, including effective evacuation strategies

 to timely alert residents of the need to evacuate and provide appropriate exit routes. MAUI

 COUNTY was on notice of the potential for catastrophic wildfires in high wind conditions that

 would spread and devour Lahaina. They did not use effective notice strategies for evacuation. They

 delayed evacuation orders for certain parts of Lahaina at great risk. They did not arrange for

 multiple escape routes for quick evacuation. As a result, Rebecca Rans was caught in a firestorm

 trying to escape.




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         53.    As large landowners, BISHOP, MAUI COUNTY, and STATE, owed a duty to

 maintain their property to prevent spread of fire to adjacent properties. They had participated in a

 study on how critical it was to maintain vegetation on their land to avoid the rapid spread of

 dangerous wildfire in high wind conditions. And yet they did not do the minimal vegetation

 management that could have abated the Lahaina Fire. Had they done so, the Lahaina Fire would

 have slowed and been contained and Rebecca Rans would not have been forced to flee with mere

 moments to escape.

 Tragic Death of Rebecca Rans

         54.    Rebecca Rans was 57 when she passed on August 8, 2023 in the Lahaina Fire. Prior

 to her death, she had resided in Lahaina consistently for the past 23 years. Rebecca Rans was born

 in San Bernardino, California. Her mother was Lois Irene Warner, who died when Rebecca Rans

 was 25 years of age. She is survived by her father, the Plaintiff in this action.

         55.    Rebecca Rans was drawn to the sun, the beach and nature of the beautiful island

 Maui. She loved swimming with dolphins and stingrays and would often tell stories of when she

 was scuba diving and witnessed a beautiful school of stingrays swimming above her. She adored

 the ocean life, and she liked to paint scenes of nature in and around Maui - often of seahorses and

 wildlife.

         56.    Rebecca had several jobs over the years, working specifically in gift shops in the

 area. She adored her work and loved talking with tourists and locals alike. She had become a local

 in her heart and spoke of her Ohana Maui family and friends deeply rooted in Lahaina and

 Hawaiian traditions. She was a generous and caring person and the community knew it. Many

 would reach out when down and out on their luck and she would spare anything she could

 including food and housing because she loved helping people. Rebecca Rans embraced the



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 Hawaiian culture. She took hula lessons and learn to poi dance (dance with fire). Dancing was one

 of her favorite past times until her disability took over. In the last 10 years, Rebecca Rans was

 diagnosed with rheumatoid arthritis and she suffered terrible pain in her feet. She could walk a

 short distance and was somewhat disabled from many activities.

        57.      For 12 years proceeding her death, Rebecca Rans had a long term, romantic

 relationship with Doug Gloege, who she lived with. They were partners spending time together

 until the very last moment when were found by the authorities, together, burned to death by the

 Lahaina Fire.

        58.      On August 8, 2023, Plaintiff heard about the fires burning out of control in the town

 of Lahaina. He was extremely upset to know his daughter’s life was in peril and the family began

 watching the TV concerned about her safety. He asked his daughter Kathleen to keep him up-to-

 date and inform him as soon as she knew anything.

        59.      On August 11, 2023, fearing the worst, Rebecca’s sister Kathleen Henricks

 contacted the Lahaina Police Department and with the assistance of Officer Ryan Nagata she filled

 out a missing person report that contained a physical description, residence and last known

 whereabouts. Office Nagata promised to follow up with the family as soon as he had any

 information. Officer Nagata told her that the FBI would be reaching out to Kathleen to collect

 DNA samples and he helped arrange that. FBI agent Florence Mackey arrived at Kathleen's

 residence to take a DNA sample. Plaintiff waited patiently for news which came when the FBI

 knocked on Kathleen Hendricks's door on August 19, 2023. Agent Mackey and Agent Derek

 Johnson delivered the news that Rebecca Rans was deceased and had been positively identified

 and confirmed. Kathleen Hendricks immediately notified her father, the Plaintiff. Upon hearing




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 the news, he broke down on the phone and was inconsolable and incoherent. He was shocked and

 grief stricken by the news that he had been fearing.

          60.    The FBI informed the family that Rebecca Rans was badly burned and the coroner

 recommended that the remains should not be viewed. The FBI shared that she was found a few

 blocks from her house behind a building with her boyfriend. Her beautiful Hawaiian gold bracelet

 survived, identified as hers by the word “KU'UIPO,” or “sweetheart” in Hawaiian. Her left slipper

 was on and it was clear she perished trying desperately to escape the Lahaina Fire, which had

 already engulfed her home. The agents made it very clear that she had suffered an excruciating

 death.

                                       WRONGFUL DEATH

          61.    As a direct and proximate result of Defendants’ wrongful conduct causing the death

 of Rebecca Rans, her father, Plaintiff Harold Dennis Wells suffered the loss of consortium,

 including the loss of love, service, society, comfort, affection, moral support, companionship,

 parental care, protection, attention, and support of his biological daughter Rebecca Rans. This

 claim is based upon the theories of law and counts alleged below.

                                    COUNT I—NEGLIGENCE

                             (Plaintiff Against HECO DEFENDANTS)

          62.    Plaintiff restates and incorporates the allegations above as if fully stated herein.

          63.    HECO Defendants owed the public and Rebecca Rans and her survivors the duty

 to exercise reasonable care in the provision of electrical power, including the duties to:

          a.     To design, construct, inspect, repair, and maintain their power poles, power lines,

 transformers, reclosers, and other electrical equipment adequately;




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        b.       To maintain, operate, and inspect their power lines, overhead electrical

 infrastructure, and equipment properly to ensure they would not cause a fire;

        c.       To de-energize their power lines during a Red Flag Warning to prevent fires;

        d.       To de-energize their power lines during a High Wind Watch to prevent fires;

        e.       To de-energize their power lines during high fire danger warnings;

        f.       To conduct adequate vegetation management, such as clearing vegetation, trees,

 and tree limbs that could come into contact with their power lines and equipment;

        g.       To de-energize their power lines after Defendants had knowledge that some power

 lines had fallen or otherwise come into contact with vegetation, structures, and objects;

        h.       To de-energize their power lines after Defendants’ overhead electrical

 infrastructure had ignited fires;

        i.       To implement reasonable policies and procedures to operate their equipment in

 such a manner as to avoid igniting or spreading fire;

        j.       To adjust their operations despite warnings about fire weather conditions that could

 result in downed power lines and cause rapid and dangerous fire growth and spread on and after

 August 8, 2023; and

        k.       To prevent the downing of power lines, which blocked evacuation routes during the

 Lahaina Fire.

        64.      As set forth in the foregoing paragraphs, HECO Defendants breached each and all

 of these duties owed to Rebecca Rans and her survivors by, including but not limited to, failing to

 properly maintain and keep its electrical poles and power lines in sound condition to encounter

 foreseeable high wind events (or to underground powerlines) and in failing to de-energize the

 power in the setting of High Wind and Red Flag conditions.



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         65.        HECO Defendants knew or should have known that residents of Lahaina, like

 Rebecca Rans, would foreseeably suffer injury or death as a result of HECO Defendants’ failure

 to exercise reasonable and ordinary care.

         66.        As a direct and proximate result of HECO Defendants’ carelessness and negligence,

 Rebecca Rans suffered death. She endured substantial conscious pain and suffering, both physical

 and emotional in nature. She incurred significant expenses for medical care and treatment, suffered

 lost wages and earnings, and was otherwise physically, emotionally, and economically injured.

 She suffered severe pecuniary loss. Rebecca Rans’ survivors also suffered tremendous anguish

 and emotional pain and suffering, as well as loss of relationship consortium, resulting from the

 death of Rebecca Rans. The injuries and damages alleged herein are permanent and will continue

 into the future.

                                       COUNT II—NEGLIGENCE

                                   (Plaintiff Against MAUI COUNTY)

         67.        Plaintiff restates and incorporates the allegations above as if fully stated herein.

         68.        MAUI COUNTY owed the public and Rebecca Rans and her survivors the duty to

 exercise reasonable care in the preparing for and responding to emergencies, including the duties

 to:

         a.         Provide adequate notice or warning to the public of the fire risk and fast-

 approaching Lahaina Fire; and

         b.         Provide adequate escape routes from the fire.

         69.        As set forth in the foregoing paragraphs, MAUI COUNTY breached each and all

 of these duties owed to Rebecca Rans and her survivors by, including but not limited to, failing to

 have proper emergency preparedness procedures.



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        70.     MAUI COUNTY knew or should have known that residents of Lahaina, like

 Rebecca Rans, would foreseeably suffer injury as a result of the MAUI COUNTY’s failure to

 exercise reasonable and ordinary care.

        71.     As a direct and proximate result of the MAUI COUNTY’s carelessness and

 negligence, Rebecca Rans suffered death. She endured substantial conscious pain and suffering,

 both physical and emotional in nature. She incurred significant expenses for medical care and

 treatment, suffered lost wages and earnings, and was otherwise physically, emotionally, and

 economically injured. She suffered severe pecuniary loss. Rebecca Ranss survivors also suffered

 tremendous anguish and emotional pain and suffering, as well as loss of relationship consortium,

 resulting from the death of Rebecca Rans. The injuries and damages alleged herein are permanent

 and will continue into the future.

                          COUNT III—LANDOWNER NEGLIGENCE

                       (Plaintiff Against COUNTY, BISHOP and STATE)

        72.     Plaintiff restates and incorporates the allegations above as if fully stated herein.

        73.     MAUI COUNTY, BISHOP, and the STATE (collectively “Landowner

 Defendants”) owed the public and Plaintiff the duty to exercise reasonable care in the maintenance

 of vegetation on their property, including the duties to:

        a.      Use reasonable care to maintain their property in such a way that would avoid

 causing injury to members of the public;

        b.      Prevent and/or remove conditions on its property that are unreasonably dangerous

 to neighbors and the public;

        c.      Take reasonable steps to abate dangers to the public which exist on their property

 and under their control; and



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        d.      Adequately manage grasslands and other flammable vegetation on their land to

 avoid the ignition or spread of wildfire on their land thereby endangering nearby properties.

        74.     As set forth in the foregoing paragraphs, Landowner Defendants breached each and

 all of these duties owed to Rebecca Rans and her survivors by, including but not limited to, failing

 to properly maintain flammable vegetation on its land thereby endangering nearby properties from

 the aggressive spread of wildfire.

        75.     Landowner Defendants knew or should have known that residents of Lahaina, like

 Rebecca Rans, would foreseeably suffer injury as a result of Landowner Defendants’ failure to

 exercise reasonable and ordinary care.

        76.     As a direct and proximate result of Landowner Defendants’ carelessness and

 negligence, Rebecca Rans suffered death. She endured substantial conscious pain and suffering,

 both physical and emotional in nature. She incurred significant expenses for medical care and

 treatment, suffered lost wages and earnings, and was otherwise physically, emotionally, and

 economically injured. She suffered severe pecuniary loss. Rebecca Rans’ survivors also suffered

 tremendous anguish and emotional pain and suffering, as well as loss of relationship consortium,

 resulting from the death of Rebecca Rans. The injuries and damages alleged herein are permanent

 and will continue into the future.

                        COUNT IV—PRIVATE & PUBLIC NUISANCE

                                 (Plaintiff Against All Defendants)

        77.     Plaintiff restates and incorporates the allegations above as if fully stated herein.

        78.     Decedent Rebecca Rans had a possessory interest in her residence at 390 Paeohi

 St., Lahaina, HI 96761 (hereinafter “private rights”).




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        79.      In addition, as a member of the general public, Rebecca Rans was entitled to use

 the streets, roadway, parks and other public spaces in Lahaina, including those that could or would

 provide her egress from her residence and from Lahaina to reach safety in time of emergency

 (hereinafter “public rights”).

        80.      By knowingly and recklessly allowing unmaintained and dangerous vegetation to

 fuel a foreseeable fire event, and by willfully failing and refusing to take reasonable measures to

 resolve said dangerous conditions, Landowner Defendants substantially and unreasonably

 interfered with Rebecca Rans’s use and enjoyment of her property and her private rights, thus

 creating a private nuisance.

        81.      By knowingly and recklessly taking no measures to harden its grid, increase power

 line safety, or de-energize its lines ahead of a foreseeable fire event, and by willfully failing and

 refusing to take reasonable measures to resolve said conditions, the HECO Defendants

 substantially and unreasonably interfered with Rebecca Rans’s use and enjoyment of her property

 and her private rights, thus creating a private nuisance.

        82.      The above-described conduct of all Defendants also caused a substantial and

 unreasonable interference with the public’s right to travel and move freely because it caused roads

 to become impassable due to fire, debris and/or downed electrical poles and lines, thus constituting

 a public nuisance.

        83.      The injuries to and death of Rebecca Rans were unique harms not caused to the

 general public, and were proximately caused by the aforesaid private and public nuisances.

 Accordingly, HECO Defendants and Landowner Defendants are all liable to Plaintiff for the tort

 of nuisance.




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                          COUNT V—INVERSE CONDEMNATION

                            (Plaintiff Against COUNTY and STATE )

        84.     Plaintiff restates and incorporates the allegations above as if fully stated herein.

        85.     The above-described damage to Rebecca Rans’s personal and real property

 interests was legally and substantially caused by the actions of Defendants MAUI COUNTY and

 STATE, and/or each of them, in their use, control, management, and/or maintenance of their

 property, and in their failure to implement risk mitigation activities and emergency management

 procedures.

        86.     Plaintiff has not received adequate compensation for the damage to and/or

 destruction of the property, thus constituting a public taking or damaging of by Defendants, and/or

 each of them, without just compensation.

        87.     The actions and/or omissions of the Defendants were a direct and substantial factor

 in causing the damages to real and/or personal property, including loss of use, interference with

 access, and/or diminution in value and/or marketability in an amount according to proof at trial.

        88.     As a direct and legal result of the actions and/or omissions of the Defendants,

 Plaintiff has incurred and will continue to incur costs, disbursements, and/or expenses, including

 reasonable appraisal, engineering, attorney, and/or other expert fees due to the conduct of the

 Defendants in amounts that cannot yet be ascertained.

  COUNT VI – STRICT LIABILITY FOR HARMS RESULTING FROM INHERENTLY
                          DANGEROUS ACTIVITY

                                (Plaintiff Against All Defendants)

        89.     Plaintiff restates and incorporates the allegations above as if fully stated herein.




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           90.    At the time the fire or fires ignited, HECO Defendants were engaged in an

 inherently dangerous activity delivering electrical energy through grasslands adjacent to

 residential areas in the presence of high winds.

           91.    At the time the fire or fires ignited, and as they continued to spread, Defendants

 MAUI COUNTY, BISHOP, and STATE were engaged in an inherently dangerous activity of

 maintaining large amounts of dry flammable grass on their property that exceeded the capacity of

 any firebreaks or other defensive measures that may have been present.

           92.    Defendants’ inherently dangerous activity caused the fire or fires to ignite and/or

 to spread without being contained or suppressed.

           93.    At the time the fire or fires ignited and then spread, Defendants’ above-described

 activities were ones that carried peculiar risk to human safety, and/or that involved special danger.

           94.    The aforesaid activities caused the fires to ignite and spread.

           95.    In carrying on the aforesaid inherently dangerous activity, Defendants are strictly

 liable to Plaintiff for the harms he and Rebecca Rans’s other survivors suffered and continue to

 suffer as a result of the fire.

           96.    In carrying on the aforesaid peculiarly risky activity, Defendants are strictly

 liability to Plaintiff for the harms he and Rebecca Rans’s other survivors suffered and continue to

 suffer as a result of the fire.

           97.    These aforesaid inherently dangerous activities and/or peculiarly risky activities for

 which Defendants are strictly liable caused harm and injury to Plaintiff, and Defendants are jointly

 and severally liable to the extent permitted by law to Plaintiff for compensatory damages for said

 harms and injuries and, are further liable to Plaintiff for punitive damages to the extent permitted

 by law.



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                              COUNT VII – PUNITIVE DAMAGES

                                 (Plaintiff Against All Defendants)

        98.     Plaintiff restates and incorporates the allegations above as if fully stated herein.

        99.     At all times material hereto, Defendants knew that the risk of wildfires caused by

 electrical wires downed during high wind events and spread through properties inundated with

 dangerous grassland could result in the development of serious harm and death.

        100.    At all times material hereto, Defendants engaged in conduct that constitutes malice

 and oppression. Despite repeated warnings and considerable studies on the subject, Defendants

 continued to operate the electrical grid and properties, respectively, knowing that wildfires were a

 likely consequence of the dry and windy conditions on Maui without taking the necessary

 precautions in order to save money. They knew that although they were saving money, they were

 putting lives at risk. Defendants acted with malice. Such conduct was despicable and oppressive.

        101.    As a direct and proximate result of the Defendants’ conscious and deliberate

 disregard for the rights and safety of the residents of Lahaina, Rebecca Rans suffered incalculable

 suffering and death. Plaintiff in turn suffered unimaginable suffering at the loss of his daughter.

        102.    The aforesaid conduct was committed with knowing, conscious, and deliberate

 disregard for the rights and safety of residents of Lahaina, including Rebecca Rans herein, thereby

 entitling Plaintiff to punitive damages in an amount appropriate to punish Defendants and deter

 them from similar conduct in the future.

        103.    In performing or neglecting to perform all of the acts and omissions described

 herein, Defendants acted wantonly, oppressively, recklessly, or with gross negligence.

        104.    As a result of the aforementioned wanton, reckless, unlawful, grossly negligent,

 and/or illegal acts and/or omissions of Defendants should be held liable for punitive damages in



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 an amount sufficient to punish and deter Defendants in light of the severity of their conduct and

 their financial condition.

                                   VIII - INJUNCTIVE RELIEF

                              (Plaintiff Against All DEFENDANTS)

        105.    Plaintiff restates and incorporates the allegations above as if fully stated herein.

        106.    The conduct of Defendants described herein has only been temporarily abated by

 the fires themselves, which have caused interruptions in utility service and have burned up much

 of the grass fuel on Landowner Defendants’ lands. However, said grass is well adapted to

 surviving fires and regrowing after a fire, and is likely to do so in the next rainy season that will

 start in Fall 2023. Landowner Defendants also own other lands near and adjacent to Lahaina that

 have not yet been consumed by fire and remain a clear and permanent threat to the physical safety

 of the public in Lahaina. Moreover, the electrical grid owned and operated by HECO Defendants

 continues to decay and present a risk any time high wind and other Red Flag conditions present

 themselves on Maui. Thus, there is a real and significant danger that, unless the nuisances

 described herein are not abated, further death, injury and destruction will occur.

        107.    Plaintiff will visit Lahaina and other parts of Maui in the next several months to

 honor and commemorate his daughter Rebecca Rans and put her soul to rest. Therefore, he will be

 present in Lahaina and other parts of Maui and be exposed to continued threat of wildfires.

        108.    By virtue of the foregoing, Plaintiff is entitled to an injunction against all

 Defendants, enjoining Defendants from engaging in the activities described herein which have and

 will likely in the future cause harm to the public.




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                                            JURY DEMAND

          109.    Plaintiff demands a trial by jury on all issues so triable.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment as follows:

          a.      As to all Counts and all DEFENDANTS, damages to the Plaintiff according

 to proof including as applicable:

                  i.      Past and future medical and care expenses of Plaintiff according to

 proof;

                  ii.     Cost of burial and other funeral expenses;

                  iii.    Other economic loss;

          b.      As to all Counts and all DEFENDANTS, Non-economic damages

 according to proof including as applicable:

                  i.      Compensation for physical pain and discomfort;

                  ii.     Compensation for fright, nervousness, anxiety, worry, and

 apprehension;

                  iii.    Loss of society, companionship, comfort, consortium, or protection;

                  iv.     Loss of filial care, love and affection;

          c.      As to all Defendants, a permanent injunction enjoining them from engaging

 in the dangerous activities and nuisance described above.

          d.      As to all Counts and all DEFENDANTS, punitive damages to the extent

 permitted by law against each such DEFENDANT in such amounts as the court or jury may

 award.




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        e.      As to all Counts and all DEFENDANTS, awarding pre-judgment and post-

 judgment interest to the Plaintiff according to proof;

        f.      As to all Counts and all DEFENDANTS, awarding reasonable costs to the

 Plaintiff as provided by law; and

        g.      As to all Counts and all DEFENDANTS, granting all such other relief as the

 Court deems necessary, just and proper.

        DATED: Honolulu, Hawai‘i, September 4, 2023.

                                                          /s/ James J. Bickerton
                                                          JAMES J. BICKERTON
                                                          BRIDGET G. MORGAN-BICKERTON

                                                          Attorneys for Plaintiff
                                                          HAROLD DENNIS WELLS




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                  IN THE CIRCUIT COURT OF THE SECOND CIRCUIT
                                       STATE OF HAWAI‘I

                                                        Case No.:
   HAROLD DENNIS WELLS, individually and                (Other Non-Vehicle Tort)
   on behalf of the heirs of REBECCA RANS,
                                                        DEMAND FOR JURY TRIAL
                          Plaintiff,
          v.

   MAUI ELECTRIC COMPANY, LIMITED;
   HAWAIIAN ELECTRIC COMPANY, INC.;
   HAWAIIAN ELECTRIC INDUSTRIES, INC.;
   ELLIOT KAWAIHO‘OLANA MILLS,
   CRYSTAL KAUILANI ROSE, JENNIFER
   NOELANI GOODYEAR-KA‘ŌPUA,
   MICHELLE KA‘UHANE, AND ROBERT
   K.W.H. NOBRIGA, TRUSTEES OF THE
   ESTATE OF BERNICE PAUAHI BISHOP;
   COUNTY OF MAUI; STATE OF HAWAI‘I;
   DOES 1-100;
                    Defendants.



                                  DEMAND FOR JURY TRIAL

        Plaintiffs hereby demand a trial by jury as to all issues so triable in the above-entitled

 cause. This Demand for Jury Trial is made pursuant to Rule 38 of the Hawaiʻi Rules of Civil

 Procedure.

        DATED: Honolulu, Hawai‘i, September 4, 2023.

                                                       /s/ James J. Bickerton
                                                       JAMES J. BICKERTON
                                                       BRIDGET G. MORGAN-BICKERTON

                                                       Attorneys for Plaintiff
                                                       HAROLD DENNIS WELLS




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      STATE OF HAWAI‘I                    SUMMONS
   CIRCUIT COURT OF THE             TO ANSWER CIVIL COMPLAINT
   SECOND      CIRCUIT
CASE NUMBER                                      PLAINTIFF’S NAME & ADDRESS, TEL. NO.

                                                 HAROLD DENNIS WELLS, individually
                                                 and on behalf of the heirs of REBECCA
PLAINTIFF
                                                 RANS,
HAROLD DENNIS WELLS, individually and on
                                                 c/o Bickerton Law Group
behalf of the heirs of REBECCA RANS,
                                                 James J. Bickerton, Esq.
                                                 Bridget G. Morgan-Bickerton, Esq.
                                                 745 Fort Street, Suite 801
                                                 Honolulu, HI 96813
                                                 Phone: (808) 599-3811

DEFENDANT(S)
MAUI ELECTRIC COMPANY, LIMITED; HAWAIIAN
ELECTRIC COMPANY, INC.; HAWAIIAN ELECTRIC
INDUSTRIES, INC.; ELLIOT KAWAIHO'OLANA-
MILLS, CRYSTAL KAUILANI ROSE; JENNIFER
NOELANI GOODYEAR-KA‘ŌPUA, , MICHELLE
KA‘UHANE, and ROBERT K.W.H. NOBRIGA,
TRUSTEES OF THE ESTATE OF BERNICE PAUAHI-
BISHOP, COUNTY OF HAWAII; STATE OF
HAWAII; DOES 1-100
TO THE ABOVE-NAMED DEFENDANT(S)


     James J. Bickerton, Esq./Bridget G. Morgan-Bickerton, Esq.
     Bickerton Law Group, LLLP
     745 Fort Street, Suite 801
     Honolulu, HI 96813
    _______________________________________________________________________________________________,

                                                                                            by default

      THIS SUMMONS SHALL NOT BE PERSONALLY DELIVERED BETWEEN 10:00 P.M. AND 6:00 A.M. ON
      PREMISES NOT OPEN TO THE GENERAL PUBLIC, UNLESS A JUDGE OF THE ABOVE-ENTITLED
      COURT PERMITS, IN WRITING ON THIS SUMMONS, PERSONAL DELIVERY DURING THOSE HOURS.

      A FAILURE TO OBEY THIS SUMMONS MAY RESULT IN AN ENTRYOF DEFAULT AND DEFAULT
      JUDGMENT AGAINST THE DISOBEYING PERSON OR PARTY.




DATE ISSUED   September 4, 2023
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